          Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 1 of 15




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.                                 Case No. 21-CR-00255 (RC)


 EMMA CORONEL AISPURO,

                        Defendant.



                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States, by and through the undersigned attorneys, respectfully submits this

Sentencing Memorandum in advance of the sentencing of Defendant Emma Coronel Aispuro

(hereinafter, “Defendant”), which is scheduled for November 30, 2021. For the reasons set forth

below, the Government respectfully recommends that the Court impose a sentence of confinement

of 48 months, a sentence below the Guidelines range set forth in the Defendant’s Pre-Sentence

Report (hereinafter, “PSR”), followed by a mandatory five-year period of supervised release. The

Government also respectfully requests that the Court note the entry of a money judgment in the

amount of $1,499,970.00 and include the Consent Order of Forfeiture in the Judgment as part of

the Defendant’s sentence, as set forth in Federal Rule of Criminal Procedure 32.2(b)(1)(4)(B). In

support of this recommendation, the Government states the following:

   I.      Background

           a. Procedural History

        On February 17, 2021, the Defendant was charged pursuant to a sealed Complaint alleging

that she committed the offense of conspiracy to distribute more than one kilogram of heroin, more

than five kilograms of cocaine, more than 500 grams of methamphetamine, and more than 1,000

                                               1
          Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 2 of 15




kilograms of marijuana with the intent, knowledge, and reason to believe that such substances

would be unlawfully imported into the United States, in violation of 21 U.S.C. §§ 959(a), 960, and

963. Docket Number (hereinafter, “Dkt. No.”) 1. On February 22, 2021, the Defendant was

arrested at Dulles International Airport in Dulles, Virginia, pursuant to an arrest warrant issued in

conjunction with that Complaint. Dkt. No. 12.

       On June 10, 2021, the Defendant pleaded guilty pursuant to a plea agreement to a three-

count Information (hereinafter, “the Information”) charging her with conspiring to distribute five

kilograms or more of cocaine, one kilogram or more of heroin, 500 grams or more of

methamphetamine, and 1,000 kilograms or more of marijuana, knowing, intending, and having a

reasonable cause to believe that such substance would be unlawfully imported into the United

States, in violation of 21 U.S.C. §§ 959(a), 960, and 963 and 18 U.S.C. § 2 (Count One); conspiring

to launder the proceeds of the narcotics offense charged in Count One, in violation of 18 U.S.C.

§§ 1956(a)(1)(A)(i) and 1956(h) (Count Two); and engaging in transactions and dealings in

property and interests in property of a foreign person designated a Significant Foreign Narcotics

Trafficker, in violation of 21 U.S.C. § 1903(b), and engaging in transactions and dealings to evade

and avoid, and that had the effect of evading and avoiding, the prohibition on transactions and

dealings in property and interests in property of said foreign person, in violation of 21 U.S.C.

§§ 1904(c)(1), 1904(c)(2), and 1906(a) (Count Three). Dkt. No. 20, 26, 31; PSR ¶¶ 1, 4. The

Information also contained a drug forfeiture allegation in which the Government gave Defendant

notice that it would seek forfeiture of the proceeds of Count One attributable to Defendant. Dkt.

No. 20; PSR ¶ 2.




                                                 2
          Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 3 of 15




           b. The Offense Conduct 1

       Beginning in or about 2011 and continuing to at least January 19, 2017, the Defendant was

a co-conspirator in the activities of the drug trafficking organization (“DTO”) known as the Sinaloa

Cartel. In 2007, the Defendant married Joaquin Guzman Loera, also known as “El Chapo”

(hereinafter, “Guzman”) who was, at that time, a principal leader of the DTO along with his

partner, Ismael Zambada Garcia, also known as, “El Mayo.” 2

       From the time that the Defendant married Guzman in 2007 until the date of her arrest, on

February 22, 2021, the Defendant knowingly benefitted from the proceeds of Guzman’s drug

trafficking activity in multiple ways. 3 The Defendant received direct monetary support from

Guzman. Further, the Defendant lived in, possessed, and controlled residences paid for by

Guzman’s drug trafficking proceeds which included both residential properties and commercial

properties. The Defendant derived income from renting the residential and commercial properties

purchased by Guzman’s drug proceeds. Accordingly, the Defendant maintained possession and

control of a variety of properties in which Guzman has an interest from in or about 2007 until the

date of her arrest on February 22, 2021.

       On February 22, 2014, Guzman was arrested in Mazatlán, Sinaloa, Mexico by Mexican

law enforcement officials. Following his arrest, Guzman was designated to Altiplano prison




1
  The following factual proffer relies on information derived from debriefings of cooperating
witnesses, intercepted communications, additional records recovered during the investigation,
and the Statement of Facts, Dkt. No. 27.
2
  On June 1, 2001, Guzman was identified by the President of the United States as a Significant
Foreign Narcotics Trafficker under 21 U.S.C. § 1903(b) and 1907(7). As a result of Guzman’s
designation as a Significant Foreign Narcotics Trafficker, Guzman’s assets, including property
and interests in property within the possession or control of any “United States Person,” as
defined by 21 U.S.C. § 1907(6), are blocked pursuant to 21 U.S.C. § 1904(b).
3
  The Defendant is a United States citizen and, accordingly, is a “United States Person” as
defined by 21 U.S.C. § 1907(6).
                                                 3
          Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 4 of 15




(hereinafter “Altiplano”) located in Mexico State.        Shortly thereafter, the United States

Government formally requested that Guzman be extradited from Mexico to the United States.

Following Guzman’s incarceration, the Defendant visited Guzman in Altiplano. Guzman utilized

the Defendant as a messenger to deliver messages to members of his DTO. Included in the

messages passed by Guzman to other DTO leaders, via the Defendant as a courier, were messages

related to drug debt collection, movement of drugs and weapons, and acts of violence. The

messages delivered by the Defendant allowed Guzman to maintain control and order over his DTO

despite the fact that he was in prison. In this regard, the messages passed by the Defendant on

Guzman’s behalf allowed the DTO to continue to import controlled substances, including cocaine,

heroin, methamphetamine, and marijuana, into the United States.

        When the Defendant visited Guzman in Altiplano, Guzman instructed the Defendant that

he wanted her to organize an escape from Altiplano via an underground tunnel. To finance and

plan for the escape from Altiplano, Guzman instructed the Defendant to communicate with other

members of the DTO.        The Defendant followed Guzman’s orders and met with other co-

conspirators in an effort to plan an escape from Altiplano via an underground tunnel. In doing so,

the Defendant attempted to aid and abet the goals of the DTO of which Guzman was a leader;

specifically,   the   importation   of   controlled   substances   including   cocaine,   heroin,

methamphetamine, and marijuana, into the United States and the return of the proceeds from the

sale of those controlled substances to the DTO.

        In furtherance of the plan to help Guzman escape from prison, the Defendant retrieved

money from another member of the conspiracy who possessed bulk cash totaling approximately

$1 million which the Defendant knew was derived from drug trafficking activities. The Defendant

delivered portions of that bulk cash to Altiplano prison personnel through intermediaries in an



                                                  4
            Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 5 of 15




effort to arrange for favorable prison conditions, including providing food not available to other

inmates at the facility, to Guzman and to facilitate Guzman’s escape from Altiplano. Under this

arrangement, and in an effort to assist with Guzman’s escape, the Defendant arranged for a GPS

watch disguised as a food item to be delivered to Guzman by a prison guard. The GPS watch was

delivered to Guzman approximately six months after tunnel construction began. The GPS watch

was used to mark the location of Guzman’s cell within Altiplano so that the tunnel engineers would

know toward which specific geographic coordinates to construct the underground tunnel.

          The Defendant met with another individual to arrange for the purchase of real property in

close proximity to Altiplano prison so that a tunnel connecting the property to Altiplano prison to

the proposed real property acquisition could be constructed. As tunnel construction began, the

Defendant continued visiting Guzman in Altiplano prison to keep him apprised of the progress of

construction.

          Tunnel engineers were able to construct the tunnel entry directly underneath Guzman’s cell

at Altiplano with an entryway placed underneath the shower in his cell. On July 11, 2015, Guzman

escaped from Altiplano maximum security prison via the underground tunnel. Thereafter, Guzman

relocated to a mountain location within the Mexican state of Durango. The Defendant reunited

with Guzman upon his arrival in Durango.

          While he was a fugitive, Guzman maintained his leadership role in the Sinaloa Cartel and

continued his drug trafficking activities. Guzman remained a fugitive until he was arrested on

January 8, 2016 in Los Mochis, Sinaloa, Mexico, by Mexican law enforcement officials. Upon

his arrest, Guzman was again designated to Altiplano prison in Mexico State. Again, the United

States Government formally requested that Guzman be extradited from Mexico to the United

States.



                                                  5
          Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 6 of 15




       Approximately one month after Guzman’s second placement in Altiplano, the Defendant

went to Altiplano to meet with him. Guzman informed the Defendant that he wanted her to, again,

help facilitate an escape by constructing another tunnel to Altiplano. Following her meeting with

Guzman at Altiplano, the Defendant communicated with fellow co-conspirators to discuss

Guzman’s order.

       The Defendant delivered bulk cash in an amount close to, but not exceeding $1 million in

an effort to again arrange for favorable prison conditions for Guzman and to potentially facilitate

another escape from Altiplano. Guzman was transferred to a different prison facility in Ciudad

Juarez, Chihuahua, Mexico (hereinafter “Juarez”) in May 2016 which made an escape from the

new confinement location less feasible than an escape from Altiplano.             The Defendant

communicated with a co-conspirator about Guzman’s movement to Juarez and discussed whether

Guzman would be transferred back to Altiplano so that efforts to help Guzman escape from

Altiplano could continue. The Defendant was aware that a $2 million bribe payment, funded in

part by monies supplied by the Defendant, was made to a high level prison official in an effort to

ensure that Guzman would receive favorable conditions within the prison. The Defendant

understood that an escape from Juarez was not feasible and that, unless Guzman was eventually

transferred back to Altiplano, the Defendant and others could not realistically plan for Guzman to

escape from prison. Guzman was never transferred back to Altiplano, and, on January 19, 2017,

Guzman was extradited to the United States to face criminal charges.




                                                6
          Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 7 of 15




           c. Objections to the Presentence Investigation Report

       On August 31, 2021, the Probation Office issued a final PSR for the Defendant. The PSR

concluded that the Defendant’s applicable Guidelines range in this case was 135 months to 168

months of confinement, based on an Offense Level 33 and a Criminal History I. PSR ¶ 66. At the

time of the issuance of the PSR, neither the Government nor the Defendant objected to this

Guidelines calculation. However, for the following reasons, the Government now objects and

submits that Defendant’s applicable Guidelines range is 57 to 71 months in prison based on an

Offense Level 25 and a Criminal History I. Defendant and the Probation Office concur.

       The Probation Office had determined that Defendant’s Base Offense Level was 38, based

on an offense involving 450 kilograms or more of cocaine, 90 kilograms or more of heroin, 45

kilograms or more of methamphetamine, and 90,000 kilograms or more of marijuana, pursuant to

U.S.S.G. §§ 2D1.1(a)(5), (c)(1).    PSR ¶ 57. The Probation Office further determined that

Defendant’s offense level should be increased by two levels based on the Defendant’s conviction

of an offence under 18 USC § 1956 in Count Two of the information, pursuant to U.S.S.G.

§ 2S1.1(b)(2)(B). PSR ¶ 58. The Probation Office also determined that the Guidelines range

should be reduced by four levels as a result of the Defendant’s role as a minimal participant in the

criminal activity described in the plea agreement, pursuant to U.S.S.G. § 3B1.2(a). PSR ¶ 60. The

Probation Office also noted that the Defendant demonstrated acceptance of responsibility for the

charged offenses and assisted authorities in the investigation and prosecution of the Defendant’s

own misconduct. Therefore, the Probation Office correctly decreased the offense level by two

levels. PSR ¶ 64. The Probation Office noted, and the Government now moves, for an additional

one-level reduction for the Defendant’s timely acceptance of responsibility under U.S.S.G.

§ 3E1.1. PSR ¶ 65.



                                                 7
           Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 8 of 15




       The Probation Office did not address whether the Defendant met the criteria for application

of the safety valve reduction under 18 U.S.C. § 3553(f) and U.S.S.G. § 2D1.1(b)(17), which would

result in an additional two-level reduction. The Defendant will move for a two-level reduction for

safety valve under 18 U.S.C. § 3553(f) and U.S.S.G. § 2D1.1(b)(17). The Government does not

dispute the applicability of the two-level safety valve reduction.

       While the Government agrees with the Probation Office’s assessment of the various

adjustments described above, upon further consideration, and in consultation with the Probation

Office, both parties believe that an adjustment must be made to the Probation Office’s original

calculation of Defendant’s Base Offense Level as 38. PSR ¶ 57. Upon a more detailed review of

U.S.S.G. § 2D1.1(a)(5)(iii), where, as here, the application of U.S.S.G.§ 2D1.1(c)(1) results in a

base offense level of 38 because of the quantity of drugs attributable to the defendant, and the

defendant receives a full four-point reduction for minimal role pursuant to U.S.S.G. § 3B1.2(a),

and the resulting offense level is still greater than 32, the Base Offense Level must be reduced to

32 prior to any upward and/or downward adjustments. 4 Thus, noting the revised Base Offense

Level of 32, rather than 38, and applying the aforementioned Guideline adjustments for the money

laundering conviction, minimal role, acceptance of responsibility, and the safety-valve reduction,

the Government concludes that the appropriate Guidelines range in this case is 57 to 71 months of

confinement, based on an Offense Level 25 and Criminal History I).




       4
         Here, the drug quantity results in a Base Offense Level of 38, pursuant to U.S.S.G.
§ 2D1.1(a)(5), which is then reduced by four points because Defendant receives a mitigating role
adjustment, pursuant to U.S.S.G. § 2D1.1(a)(5), which results in a Base Offense Level of 34.
Because that resulting offense level of 34 is greater than 32 and Defendant receives a four-point
reduction pursuant to U.S.S.G. § 3B1.2(a) (as opposed to a two-point or three-point reduction),
the Base Offense Level is further reduced to 32, pursuant to the last sentence of U.S.S.G.
§ 2D1.1(a)(5).
                                                 8
            Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 9 of 15




   II.       Sentencing Factors Pursuant to 18 U.S.C. § 3553(a)

         The Sentencing Guidelines are advisory, not mandatory. United States v. Booker, 543 U.S.

220, 258-60 (2005). However, the Supreme Court held in Booker that sentencing courts must

consider the Guidelines in formulating an appropriate sentence. Id. In Gall v. United States, 552

U.S. 38 (2007), the Supreme Court set forth the procedure for sentencing courts to follow in light

of Booker:

                [A] district court should begin all sentencing proceedings by
                correctly calculating the applicable Guidelines range. As a matter of
                administration and to secure nationwide consistency, the Guidelines
                should be the starting point and the initial benchmark.

Gall, 552 U.S. at 49 (citation omitted). Next, a district court should “consider all of the § 3553(a)

factors to determine whether they support the sentence requested by a party. In so doing, [a district

court] may not presume that the Guidelines range is reasonable. [A district court] must make an

individualized assessment based on the facts presented.” Id. at 49-50 (citation and footnote

omitted).

         In determining the appropriate sentence, the statute directs Courts to consider “the nature

and circumstances of the offense and the history and characteristics of the defendant. 18 U.S.C.

§ 3553(a)(1). Further, Courts are also directed to “impose a sentence sufficient, but not greater

than necessary, to comply with the purposes” of sentencing, which are:

               (A)     to reflect the seriousness of the offense, to promote respect
                       for the law, and to provide just punishment for the offense;

               (B)     to afford adequate deterrence to criminal conduct;

               (C)     to protect the public from further crimes of the defendant;
                       and

               (D)     to provide the defendant with needed educational or
                       vocational training, medical care, or other correctional
                       treatment in the most effective manner.


                                                  9
              Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 10 of 15




18 U.S.C. § 3553(a)(2).

             Courts may not presume that the appropriate sentence necessarily lies within the

Guidelines range, but “the fact that § 3553(a) explicitly directs sentencing courts to consider the

Guidelines supports the premise that district courts must begin their analysis with the Guidelines

and remain cognizant of them throughout the sentencing process.” Gall, 552 U.S. at 50 n.6. The

relevance of the Guidelines throughout the sentencing process stems in part from the fact that,

while advisory, “the sentencing statutes envision both the sentencing judge and the Commission

as carrying out the same basic § 3553(a) objectives,” Rita v. United States, 551 U.S. 338, 348

(2007), and the Guidelines are “the product of careful study based on extensive empirical

evidence derived from the review of thousands of individual sentencing decisions,” Gall, 552

U.S. at 46; see also Rita, 551 U.S. at 349.        To the extent a sentencing court varies from the

Guidelines sentence, “[it] must consider the extent of the deviation and ensure that the

justification is sufficiently compelling to support the degree of the variance.” Gall, 552 U.S. at

50.

      III.      Application of the Sentencing Factors

             For the reasons that follow, the Government respectfully recommends a sentence of 48

months, nine months below the low end of the applicable Guidelines range, followed by a

mandatory period of supervised release of five years.

                a. Nature, Circumstance, and Seriousness of the Offense

             The Defendant committed a serious crime against the United States, having admitted in her

plea to conspiring to distribute 450 kilograms or more of cocaine, 90 kilograms or more of heroin,

45 kilograms or more of methamphetamine, and 90,000 kilograms or more of marijuana that she

knew would be imported into the United States. In furtherance of that conspiracy, the Defendant


                                                    10
         Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 11 of 15




aided and abetted the drug trafficking activities of the Sinaloa Cartel by supporting the

organization’s primary leader, her husband, Guzman.       The Defendant engaged in financial

transactions, including the movement of bulk cash that she knew was derived from the drug

conspiracy for a criminal purpose, to achieve those ends. In addition, the Defendant maintained

possession and control of a variety of properties in which Guzman has or had an interest from in

or about 2007 until at least February 22, 2021. As a United States Person, the Defendant was

unable to maintain possession and control of those properties based upon the fact that Guzman was

identified by the President of the United States as a Significant Foreign Narcotics Trafficker on

June 1, 2001. Any sentence imposed must reflect the seriousness of this criminal conduct.

           b. History and Characteristics of the Defendant

       The Government agrees with the PSR regarding nearly all of the Defendant’s history and

characteristics. PSR ¶¶ 67-88. As it relates to the PSR discussion of the Defendant’s assets in

paragraph 89, the Government will discuss, in greater detail infra, the Defendant’s agreed upon

and executed forfeiture of assets.

           c. Adequate Deterrence

       Given the adverse impact that drug trafficking has on society and the serious detrimental

effects of cocaine, heroin, methamphetamine, and marijuana in communities, it is important that

the Court impose a sentence that deters others from undermining the rule of law. However, the

Court should also balance the deterrence factor against the Defendant’s role and the Defendant’s

swift acceptance of responsibility in this matter.

           d. Protect the Public from Further Crimes of the Defendant

       The Defendant does not have a criminal history beyond the instant offenses and swiftly

accepted responsibility for her actions in the instant matter. Therefore, the Government believes



                                                 11
          Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 12 of 15




that a sentence of 48 months in prison followed by a mandatory five-year period of supervised

release is appropriate to protect the public from future crimes of the Defendant.

            e. Need for Sentence Imposed to Avoid Unwarranted Sentence Disparities Among
               Similarly Situated Defendants

         Section 3553(a)(6) articulates “the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct.” 18 U.S.C.

§ 3553(a)(6). When determining whether a sentence creates an unwarranted disparity, the Court

should consider a defendant’s acceptance of responsibility, the nature and extent of a defendant’s

participation in the criminal activity, a defendant’s criminal history, and whether and to what

extent a defendant cooperated. See, e.g., United States v. Mejia, 597 F. 3d 1329, 1344 (D.C. Cir.

2010).

         As set forth above, the Defendant engaged in drug-trafficking and money-laundering

activities on behalf of the Sinaloa Cartel and also committed a criminal violation of the Kingpin

Act. In arriving at its sentencing recommendation, the Government has evaluated the Defendant’s

role within the conspiracy, the length and extent of her criminal conduct, and her willingness to

swiftly accept responsibility for her actions, as compared with co-conspirators, as well as other

similarly situated defendants. Other international narcotics traffickers, who had similar criminal

culpability and saved the Government valuable time and resources by quickly accepting

responsibility, have received below-Guidelines sentences similar to the sentence recommended by

the Government.

   IV.      Forfeiture

         The Information contained a Criminal Forfeiture Allegation giving notice that the

Government would seek forfeiture pursuant to 21 U.S.C. §§ 853 and 970 of any property

constituting, or derived from, any proceeds of obtained by Defendant as a result of her commission

                                                12
         Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 13 of 15




of Count One, and any property used to or intended to be used, in any manner or part, to commit

or facilitate Count One. In the plea agreement, the Defendant agreed to such forfeiture an to assist

the Government in achieving such forfeiture. See Dkt. No. 26 ¶ 5.

        On November 18, 2021, the Government filed a Motion for Consent Order of Forfeiture

requesting that the Court issue a Consent Order of Forfeiture pursuant to Federal Rule of Criminal

Procedure 32.2(b)(1)(A) and (4)(A) entering a money judgment in the amount of $1,499,970.00

against the defendant. Dkt. No. 38. As described in the Motion for Consent Order of Forfeiture,

although there are no specifically forfeitable assets in this case, the Government has requested and

the Defendant has consented to the entry of a money judgment in the amount of $1,499,970.00,

which represents the value of forfeitable property attributable to the Defendant that constitutes

proceeds of Count One and property used to facilitate Count One, pursuant to 21 U.S.C. §§ 853(a)

and 970. See Fed. R. Crim. P. 32.2(b)(1)(A) and (4)(A). Defendant consented to the proposed

Consent Order of Forfeiture attached to the Government’s Motion. See Dkt. No. 38 at 1.

Defendant also has agreed to provide $1,499,970.00 to the Government prior to sentencing in

satisfaction of the anticipated money judgment and Consent Order of Forfeiture.

        Accordingly, the Government respectfully requests that the Court enter the Consent Order

of Forfeiture prior to or at sentencing and, thereafter, note and include the money judgment in the

amount of $1,499,970.00 and Consent Order of Forfeiture in the Judgment pursuant to Federal

Rule of Criminal Procedure 32.2(4)(A) and (B).

   V.      Conclusion

        For the reasons set forth above, the Government respectfully requests that the Court impose

a sentence of 48 months followed by a five-year period of supervised release, which is a sentence

appropriate to achieve the purposes set forth in 18 U.S.C. § 3553(a). The Government also



                                                13
         Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 14 of 15




respectfully requests that the Court note the entry of a money judgment in the amount of

$1,499,970.00 and include the Consent Order of Forfeiture in the Judgment as part of the

Defendant’s sentence, as set forth in Federal Rule of Criminal Procedure 32.2(b)(1)(4)(B).


                                            Respectfully submitted,
                                            ARTHUR G. WYATT
                                            Chief
                                            Narcotic and Dangerous Drug Section
                                            U.S. Department of Justice
                                            Washington, D.C. 20530


                                     By:    /s/ Anthony J. Nardozzi     .
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                                               14
         Case 1:21-cr-00255-RC Document 39 Filed 11/18/21 Page 15 of 15




                                CERTIFICATE OF SERVICE


                I hereby certify that a copy of the foregoing Government’s Sentencing
Memorandum foregoing was filed through the Electronic Court Filing system and will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.


                                     By:     /s/ Anthony J. Nardozzi    .
                                             Anthony J. Nardozzi
                                             Deputy Chief
                                             Narcotic and Dangerous Drug Section
                                             Criminal Division
                                             U.S. Department of Justice




                                               15
